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                                                         U.S. DISTRICT COURT


              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                CENTRAL DIVISION


  SANMEDICA INTERNATIONAL, LLC, and
  QUALITY IP HOLDINGS, LLC,                            MEMORANDUM DECISION AND
                                                       ORDER GRANTING IN PART
          Plaintiffs,                                  PLAINTIFFS’ EX PARTE MOTION
                                                       FOR LEAVE TO SERVE
  v.                                                   DEFENDANTS BY ALTERNATE
                                                       MEANS THROUGH PUBLICATION
  METABOLIC RESEARCH CENTER;                           (DOC. NO. 10)
  METABOLIC RESEARCH CENTER OF
  BREVARD, COUNTY, INC.; METABOLIC
  RESEARCH CENTER OF FORT WALTON                       Case No. 2:20-cv-00316-JNP-DAO
  BEACH, INC.; METABOLIC RESEARCH
  CENTER OF JACKSONVILLE, INC.;                        Judge Jill N. Parrish
  METABOLIC RESEARCH CENTER OF
  MERRITT ISLAND, INC.; and JOHN DOES 1-               Magistrate Judge Daphne A. Oberg
  10,

          Defendants.


       Before the court is Plaintiffs’ Ex Parte Motion for Leave to Serve Defendants by

Alternate Means Through Publication (“Mot.,” Doc. No. 10). As set forth in the motion and

supporting declaration, Plaintiffs hired a private investigator to try to locate Defendants, and

their process server attempted service on multiple occasions at two Florida addresses identified

by the investigator. (Mot. 2, Doc. No. 10; see also Decl. of Steven W. Garff in Support of Mot.

(“Garff Decl.”) ¶¶ 2–7, Doc. No. 10-1.) At the first address, two individuals, on separate

occasions, refused to identify themselves and told the process server it was not the location of

Metabolic Research Center. (Mot. 2, Doc. No. 10; Garff Decl. ¶¶ 3–4, Doc. No. 10-1.) At the

second address, an individual who refused to identify himself told the process server the correct

address for Metabolic Research Center was the first address where service had been attempted.



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(Mot. 3, Doc. No. 10; Garff Decl. ¶ 7, Doc. No. 10-1.) Plaintiffs’ counsel and private

investigator were also unable to locate active registered agents for Defendants on the Florida

Secretary of State’s website. (Mot. 3, Doc. No. 10; Garff Decl. ¶ 8, Doc. No. 10-1.)

       In their motion, Plaintiffs request leave to serve Defendants via publication. (Mot. 1–2,

5, Doc. No. 10.) At the court’s direction, Plaintiffs filed a supplemental brief regarding efforts to

locate an email address for Defendants. (Pls’ Suppl. Br. in Support of Mot., Doc. No. 13.) The

supplemental brief requests leave to serve Defendants via email, and indicates Plaintiffs’ private

investigator and counsel found the email address support@emetabolic.com on the “Contact Us”

page of Defendants’ website. (Id. at 2.)

       Federal Rule of Civil Procedure 4(h) governs serving a corporation, partnership, or other

unincorporated entity. Rule 4(h)(1)(A) permits service of such entities “in the manner described

in Rule 4(e)(1) for serving an individual.” Fed. R. Civ. P. 4(h)(1)(A). Rule 4(e)(1) provides that

service may be completed by “following state law for serving a summons in an action brought in

courts of general jurisdiction in the state where the district court is located or where service is

made.” Fed. R. Civ. P. 4(e)(1). In this case, Plaintiffs filed their complaint in the District of

Utah. Therefore, Utah law applies.

       Utah Rule of Civil Procedure 4(d)(5)(A) provides that “[i]f the identity or whereabouts of

the person to be served are unknown and cannot be ascertained through reasonable diligence . . .

or if there is good cause to believe that the person to be served is avoiding service, the party

seeking service may file a motion to allow service by some other means.” Utah R. Civ. P.

4(d)(5)(A). The motion must include “[a]n affidavit or declaration supporting the motion

[setting] forth the efforts made to identify, locate, and serve the party.” Id. Additionally, Rule

4(d)(5)(B) provides:



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       If the motion is granted, the court will order service of the complaint and summons
       by means reasonably calculated, under all the circumstances, to apprise the named
       parties of the action. The court’s order must specify the content of the process to be
       served and the event upon which service is complete. Unless service is by
       publication, a copy of the court’s order must be served with the process specified
       by the court.

Utah R. Civ. P. 4(d)(5)(B).

       Plaintiffs have met their burden to make reasonably diligent efforts to locate and serve

Defendants by hiring a private investigator and making multiple attempts to serve Defendants at

two separate addresses. (Mot. 2–3, Doc. No. 10; Garff Decl. ¶¶ 2–7, Doc. No. 10-1.) In doing

so, Plaintiffs have shown Defendants’ whereabouts “cannot be ascertained through reasonable

diligence.” Utah R. Civ. P. 4(d)(5)(A). The alternative service method initially proposed by

Plaintiffs, service by publication, is unlikely to apprise Defendants of this action. However,

service by email to the email address Plaintiffs identified in their supplemental brief, as well as

by mail to the addresses where service was attempted, are means “reasonably calculated, under

all the circumstances, to apprise the named parties of the action.” Utah R. Civ. P. 4(d)(5)(B).

       For these reasons, the court GRANTS IN PART the motion and ORDERS Defendants to

be served as follows:

       (1) The summons, the complaint, and a copy of this order shall be sent to Defendants at

           the email address support@emetabolic.com three times per week for two consecutive

           weeks, not more often than once every other day (unless a response is received from

           Defendants acknowledging receipt of service).

       (2) Each such email shall include a subject line stating, “Service of Federal Court

           Summons and Complaint as Ordered by the Court.”

       (3) The content of the email cover message should include the following:




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            To: Metabolic Research Center, Metabolic Research Center of Brevard,
            County, Inc., Metabolic Research Center of Fort Walton Beach, Inc.,
            Metabolic Research Center of Jacksonville, Inc., and Metabolic Research
            Center of Merritt Island, Inc.

            Please find attached the following three documents:

                •   Complaint
                •   Summons
                •   Order of the court dated November 6, 2020 providing for service
                    of process by email.

     (4) The summons, the complaint, and a copy of this order shall also be mailed to

        Defendants at the following addresses, where Plaintiffs attempted service:

            3229 HWY 17, Green Cove Spring, FL 32043

            6191 W. Shore Rd, Flemind Island, FL 32003

     (5) Upon completion of these steps, Plaintiffs shall file proof of compliance with the

        court’s order.

     (6) The deadline to complete service is extended to December 4, 2020.

     DATED this 6th day of November, 2020.

                                           BY THE COURT:


                                           ____________________________________
                                           Daphne A. Oberg
                                           United States Magistrate Judge




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